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                 EXHIBIT A-1
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                                                                                      1/21/2025 4:46 PM
                                                                                      Amanda K. Calvert
                                                                                      District Clerk
                                                                                      Hays County, Texas
                                                        CAUSE NO. 2025-
                                                         25-0200-DCF
                                                                §
              IN RE:                                            §     IN THE DISTRICT COURT
              BLAKE LIVELY,                                     §
                                                                §
                                       Petitioner,              §
                                                                §     ___ JUDICIAL DISTRICT
              REQUESTING DEPOSITION OF:                         §
              JED WALLACE.                                      §
                                                                §
                                                                §     HAYS COUNTY, TEXAS
                                                                §
                                                                §

                      BLAKE LIVELY'S VERIFIED PETITION FOR RULE 202 DEPOSITION

                     Petitioner Blake Lively ("Petitioner" or " Ms. Lively") requests an order authorized under

            Texas Rule of Civil Procedure 202 to take a pre-suit deposition of Jed Wallace ("Respondent" or

            "Mr. Wallace"), for which Petitioner respectfully shows as follows:

                                                  FACTUAL BACKGROUND

            A.       The Respondent Jed Wallace

                     1.      Respondent Mr. Jed Wallace is an independent contractor based in Dripping

            Springs, Texas, whose company, Street Relations, Inc. ("Street Relations") provides crisis

            management and intervention services to high-profile and high-net worth clients, including by

            contracting with other public relations and brand management firms to perform discrete work that

            facilitates larger public relations strategies.

                     2.      On information and belief, Mr. Wallace has described himself as a "hired gun" and

            claimed a "proprietary formula for defining artists and trends."

                     3.      On information and belief, Mr. Wallace specializes in executing confidential and

            "untraceable" campaigns across various social media platforms (including TikTok, Instagram,
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            Reddit, and X) to shape public perception of his clients and their adversaries and to perpetuate

            those perceptions by, among other things, creating social media accounts with inauthentic users.

                     4.      On information and belief, Mr. Wallace's clients have included a number of

            prominent companies and individuals.

            B.       The Film and Negative Sentiment against Ms. Lively

                     5.      Ms. Lively co-starred in the 2024 hit film, It Ends With Us (the "Film"), directed

            by Justin Baldoni, who co-starred in the Film, and produced by Mr. Baldoni's production studio,

            Wayfarer Studios, LLC ("Wayfarer"). Leading up to and throughout the production of the Film,

            which began on or about May 18, 2023, Ms. Lively and others on set were subjected to a pattern

            of unprofessional and sexually harassing behavior by Mr. Baldoni and Jamey Heath, Wayfarer's

            Chief Executive Officer.

                     6.      Though numerous human resources complaints were raised regarding Mr.

            Baldoni's and Mr. Heath's behavior, Wayfarer failed to conduct an investigation or to otherwise

            adequately address concerns or voluntarily implement protections for Ms. Lively or other cast and

            crew on set.

                     7.      At the conclusion of the guild strikes that had disrupted production, Ms. Lively

            negotiated a contractual rider (the "Rider"), ensuring certain on-set and external protections for

            herself and the rest of the cast and crew prior to returning to set. The Rider included a provision

            prohibiting " retaliation of any kind" against Ms. Lively. See Ex. A, ¶ 10. The Rider specifically

            prohibited any disparagement, marginalization, or other negative behavior, either on set or

            otherwise, including post-production. Id.

                     8.      Filming resumed in January 2024 and production wrapped the following month, in

            February 2024.



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                     9.       Starting on the day the Film was released in August 2024, Ms. Lively suddenly

            became the focus of vitriol and negative commentary on social media and in the press.

                     10.      Ms. Lively later learned that the negative public sentiment that was suddenly

            unleashed against her was the direct and intended result of an intentionally seeded "social

                                                                   , and public relations scheme that was
            manipulation," "social media mitigation," "social combat"

            planned, implemented and funded by Mr. Baldoni, Mr. Heath, Mr. Steve Sarowitz (Wayfarer's co -

            founder), and Wayfarer as unlawful retaliation against Ms. Lively for raising concerns about

            harassing conduct on-set and in violation of multiple contractual agreements, including the Rider 's

            non-disparagement provision.

            C.       The Retaliation Campaign

                     11.      On July 31, 2024, following the recommendation of their publicist, Jennifer Abel,

            Wayfarer and Mr. Baldoni retained a crisis communications specialist named Melissa Nathan, and

            her company, The Agency Group PR LLC ("TAG"). Ms. Nathan delivered a proposal to Mr.

            Baldoni and Mr. Heath to develop a social media communications plan , which included "[a]

            website (to discuss), full reddit, full social account take downs, full social crisis team on hand for

            anything       engage with audiences in the right way, start threads of theories (discuss) this is the

            way to be fully 100% protected." Ms. Nathan also proposed the "creation of social fan engagement

            to go back and forth with any negative accounts, helping to change [sic] narrative and stay on

            track." Per Ms. Nathan, "All of this will be most importantly untraceable." As Ms. Abel described

            it, the plan was to engage in "social media mitigation and proactive fan posting to counter the

            negative" as well as "social manipulation."




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                     12.     In the weeks and months that followed            with the direction and approval of

            Wayfarer, Mr. Heath, and Mr. Baldoni             the team engaged in a sophisticated, coordinated, and

            well-financed retaliation plan.

                     13.     The retaliation campaign relied on more than just publicists and crisis managers

            spinning stories. They also retained subcontractors, including Mr. Wallace, who weaponized a

            digital army around the country, including in New York and Los Angeles, to create, seed,

            manipulate, and advance disparaging content that appeared to be authentic on social media

            platforms and internet chat forums.

                     14.     The Baldoni-Wayfarer team would then feed pieces of this manufactured content

            to unwitting reporters, making content go viral in order to influence public opinion. To safeguard

            against the risk of Ms. Lively ever revealing the truth about Mr. Baldoni, the Baldoni-Wayfarer

            team created, planted, amplified, and boosted content designed to eviscerate Ms. Lively's

            credibility. They engaged in the same techniques to bolster Mr. Baldoni's credibility and suppress

            negative content about him.

                     15.     On information and belief, TAG engaged Mr. Wallace to assist them in their

            unlawful, retaliatory "social combat" campaign on behalf of Wayfarer and Mr. Baldoni against

            Ms. Lively by implementing the "social manipulation" campaign across various social medi a

            platforms including Instagram, Reddit, and TikTok.

                     16.     On information and belief, in August 2024, in the lead-up to the Film's premiere

            and in the weeks that followed, Mr. Wallace worked remotely from Dripping Springs, Texas, at

            the direction of Ms. Nathan, TAG, and Ms. Abel on behalf of Wayfarer and Mr. Baldoni, to

            undermine the credibility of and retaliate against Ms. Lively through this "social manipulation"

            campaign.



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                     17.        For instance, on August 7 , 2024, Ms. Abel inquired about the cost of "social media

            mitigation and proactive fan posting to counter the negative" press surrounding Mr. Baldoni and

            whether what she had "discussed with [Ms. Nathan] earlier regarding social manipulation (from

            the separate team based in Hawaii ... )" was included in that fee. On information and belief, the

            referenced "team based in Hawaii" worked with Mr. Wallace and/or at his direction.

                     18.        On August 9, 2024, the day the Film premiered, Ms. Abel and Ms. Nathan flagged

            social media accounts questioning Mr. Baldoni's conduct on the set of the Film to Mr. Wallace,

            directing Mr. Wallace to take "serious action on the social side" in response.

                     19.        Later that same day, Mr. Wallace conveyed to Ms. Nathan that "we are crushing it

            on Reddit" with respect to their efforts on behalf of Wayfarer, Mr. Baldoni, and Mr. Heath.

                     20.        On August 10, 2024, Ms. Nathan acknowledged that "socials are really really

            ramping up .... " Ms. Nathan credited the change "largely to Jed and his team's efforts to shift the

            narrative towards shining a spotlight on Blake and Ryan," instead of Mr. Baldoni.



                      From :
                      To:                Jennifer Abel {owner)

                      Hi team - so far, extremely limited pickup on Daily Mail or Page Six. We'll continue to keep
                      an eye out and send pieces as needed, but so far it's been steady coverage on pure
                      speculation. We've also started to see a shift on social, due largely to Jed and his team's
                      efforts to shift the narrative towards shining a spotlight on Blake and Ryan. Again we'll
                      continue to send links and screenshots but wanted to send an update in the meantime.
                      Priority: Normal
                                                                                          1010812024 16:35:40(UT C+0)




                     21.        In the days that followed, Ms. Nathan and Ms. Abel discussed specific social media

                                                                    . For instance, on August 10, 2024,
            posts for Mr. Wallace and his team to "amplify" or "boost"

            Ms. Abel sent a TikTok post of Mr. Baldoni and Ms. Lively appearing to laugh together, and wrote

            "[w]ould be great for the digital team to boost this in any way possible ... "



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                     22.     A few days later, on August 14, 2024, Ms. Abel stated, "I'll have our digital side

            boost this [TikTok] in the am ." In the referenced TikTok, an individual who Ms. Lively has never

            met responds to social media that Mr. Baldoni "made [Ms. Lively] uncomfortable and sad," calling

            it"all nonsense."

                     23.     On August 18, 2024, Mr. Baldoni circulated a TikTok video in which the poster

            repeated a misleading narrative that Ms. Lively did not speak about domestic violence in any press

            interviews. A member of Ms. Nathan's team responded that she would "let digital know."

                     24.     Ms. Nathan and Ms. Abel also discussed working with Mr. Wallace and his "digital

            team" to suppress certain narratives and posts on social media. For example, the same day, Ms.

            Abel flagged to TAG that "this girl is claiming that [Mr. Baldoni] invited her up to his hotel room

            years ago," to which the TAG team replied, "[l]et us chat to Jed on this."

                     25.     On information and belief, Mr. Wallace was in regular contact with not only Ms.

            Nathan, but also other executives of Wayfarer. For example, on August 18, 2024, Ms. Nathan

            texted Ms. Abel that, as opposed to using "bots," "[t]he other team is doing something very specific

            in terms of what they do. I know Jamey &Jed [sic] connected on this."

            D.       Ms. Lively Files Complaint in New York Federal Court

                     26.     On December 31, 2024, Ms. Lively filed a complaint in the United States District

            Court for the Southern District of New York. See Lively v. Wayfarer Studios LLC, et al., 24-cv-

             10049, ECF No. 1 ("Retaliation Complaint" ). The Retaliation Complaint reflects causes of action

            for sexual harassment, retaliation, and related claims.

                     27.     The defendants in that case include Wayfarer, Mr. Baldoni, Mr. Heath, Mr.

            Sarowitz, It Ends With Us Movie LLC, Ms. Nathan, TAG, and Ms. Abel (the "Retaliation

            Defendants").



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                     28.     The Retaliation Defendants are represented by Bryan Freedman, an entertainment

            lawyer and co-founder of Liner Freedman Taitelman + Cooley LLP, who also serves as counsel

            for Mr. Wallace and Street Relations in litigation. Mr. Freedman was brought in by the Retaliation

            Defendants during their strategic manipulation smear of Ms. Lively in August 2024, and he since

            has served as a central figure in their active media campaign, speaking publicly and negatively on

            numerous occasions regarding Ms. Lively and her allegations, and issuing repeated threats to sue.

                     29.     Mr. Wallace and his attorney, Mr. Freedman, also have a close personal

            relationship, emphasizing the unmistakable connection among Mr. Wallace, Mr. Freedman, and

            the Retaliation Defendants. In an August 13, 2024 text, Ms. Nathan inquired about whether she

            should create a Signal thread between herself, Ms. Abel, and Mr. Wallace "in case you need [Mr.

            Wallace] to connect you to [Mr. Freedman] because they're very close." (emphasis added).


                             From:                 Melissa Nathan
                             To:                Jennifer Abel (own er)

                             Can I start a Signal thread with you , me and Jed
                             Just in case you need him to connect you to Bryan because they're very close
                             Priority: Normal

                                                                                               13108/2024 03:42:4 7(UTC+0)




                     30.     Mr. Wallace was not named as a defendant in the Lively Complaint. Petitioner now

            seeks an order from this Court "authorizing the taking of a deposition[] to investigate" Petitioner's

            " potential claim[s]" against him. See Tex. R. Civ. P. 202.l(b).

                     31.     Despite evidence acknowledging that Mr. Wallace and others conducted an

            extensive      and largely successful                campaign to disparage, retaliate against, and damage

            Petitioner, Mr. Freedman now claims that no digital manipulation campaign was carried out. 1 He


            1
             See, e.g., Statement to the New York Times from Bryan Freedman, attorney for Justin Baldoni, Wayfarer Studios and
            all        its      representatives,       NEW          YORK         TIMES           (Dec.       21,        2024),

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            further has threatened to file suit against anyone who pm-sues a lawsuit against his clients,

            including Mr. Wallace, based on such allegations,2 which include the allegations set forth in the

            Lively Complaint. Accordingly, a Rule 202 deposition would serve the interests of justice by

            allowing Petitioner to investigate the scope of Mr. Wallace's conduct, as described herein, and to

            reduce the risk of inviting frivolous lawsuits by Mr. Freedman.

                                                   PARTIES AND DEPONENTS

                      32.     Blake Lively is an individual domiciled and residing in New York, New York.

            Petitioner can be served with pleadings and other papers in this proceeding through her counsel of

            record.

                      33.     Jed Wallace is an individual domiciled and residing in Dripping Springs, Texas.

            Mr. Wallace may be served wherever he or she may be found.

                                                  JURISDICTION AND VENUE

                      34.     This Comi has personal jurisdiction over Mr. Wallace because he is domiciled in

            Dripping Springs, Texas, which is within Hays County, Texas.




            https://www.nytimes.com/interactive/2024/12/21/us/statement-to-the-new-york-times.html ("The representatives of
            Wayfarer Studios still did nothing proactive nor retaliated . .. ");id.("[] there were no proactive measures taken with
            media or otherwise[]"); see also Liz Kreutz, Saba Hamedy & Kalhan, Rosenblatt, Justin Baldoni 's Attorney Blasts
            New York Times Story about Blake Lively 'Smear Campaign' Story, NBC, at 1:38 - 1:43 (Jan. 3, 2025, 12:46 PM),
            https://www.nbcnews.com/pop-culture/pop-culture-news/justin-baldonis-attomey-blasts-new-york-times-blake-
            lively-story-rcnal86064 (Q: "Was there a coordinated smear campaign to bring down Blake Lively?" Freedman: "One
            hundred percent, no.").
            2 See, e.g., James Hibberd, Justin Baldoni's Publicist Breaks Silence, Defends Leaked Texts About Blake Lively, The

            Hollyv.•ood Reporter (Dec. 23, 2024), https://wv.rw.hollywoodreporter.com/movies/movie-news/justin-baldoni-blake-
            lively-jennifer-abel-leaked-texts-1236093044/ ("[] anyone actively involved in any possible connection with this
            abhorrent conduct will be sued into oblivion."); see also Wayfarer Studios LLC, et al., v. The New York Times Co. ,
            24STCV34662 (L.A. Super. Ct., filed Dec. 31 , 2024) at ,r 30 ("This lawsuit seeks to hold the Times accountable for
            its role in this defamation campaign, but Plaintiffs are not done. There are other bad actors involved, and make no
            mistake-this will not be the last lawsuit."); see also Liz Kreutz, Saba Hamedy & Kalhan, Rosenblatt, Justin Baldoni 's
            Attorney Blasts New York Times Story about Blake Lively 'Smear Campaign' Story, NBC, at 1:03 - 1:06 (Jan. 3, 2025,
            12:46 PM), https://wwv.•.nbcnews.com/pop-culture/pop-culture-news/justin-baldonis-attomey-blasts-new-york-
            times-blake-lively-story-rcnal86064 (Q: "Do you plan to sue Blake Lively?" Freedman: "Absolutely." Q: "You will?"
            Freedman: "Yes.").

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                     35.     This Court has jurisdiction over this matter because a substantial part of the events

            giving rise to the claims that Petitioner seeks to investigate-specifically, Mr. Wallace's work on

            the "social manipulation" camprugn-occurred in Hays County and are thus within the

            jurisdictional limits of this Court.

                     36.     Venue is proper in Hays County pursuant to Texas Civil Practice and Remedies

            Code §§ 15.002(a)(1) and (3) and Texas Rule of Civil Procedure 202.2 because a substantial part

            of the underlying events that would give rise to the claims being investigated occurred in Hays

            County and Mr. Wallace resides in Hays County.

                           NATURE OF POTENTIAL CLAIMS AND REQUEST TO DEPOSE

            A.       Petitioner seeks to investigate potential claims against Respondent.

                     37.     Petitioner brings this action for a discrete and specific purpose: to investigate the

            nature and scope of Mr. Wallace's work implementing the "social manipulation" campaign

            engineered by Wayfarer, Mr. Sarowitz, Mr. Baldoni, Mr. Heath and their multiple public relations

            teams working to disparage Petitioner. Petitioner requires this information in order to better

            understand the manner in which the unlawful conduct, including retaliation, was carried out.

                     38.     Based on the facts set forth above, which include: (i) a contractual Rider that

            prevented any retaliation of any kind, including disparagement, against Petitioner; (ii) the breach

            of that Rider by employees and agents of Wayfarer through a surreptitious social media and press

            campaign; (iii) the acknowledgement by Wayfarer's employees and agents that Mr. Wallace

            assisted in breaching the Rider and orchestrating a widespread campaign to damage Petitioner's

            reputation ; and (iv) that Mr. Wallace's efforts had, in fact, succeeded in "shift[ing] the narrative

            towards shining a spotlight on Blake and Ryan " and damaging Petitioner 's reputation, Petitioner

            seeks to investigate potential tortious claims against Mr. Wallace, including, but not limited to: (i)

            tortious interference with contract (including non-disparagement provision), and (ii) intentional

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            infliction of emotional distress. Petitioner requires additional information to determine whether

            she may pursue those claims, and any additional potential claims, against Mr. Wallace.

            B.       The benefit of Petitioner 's pre-suit discovery outweighs the burden or expense.

                     39.     Rule 202 permits a party to investigate potential claims via pre-suit depositions.

            Rule 202 functions "in aid of a suit which is anticipated [and] ancillary to the anticipated suit. " In

            re Wolfe, 341 S.W.3d 932, 933 (Tex. 2011) (citation omitted) (per curiam). Depositions under

            Rule 202 "are governed by the rules applicable to depositions of non-parties in a pending suit [Rule

            199.2(b)(5) and] [t]he scope of discovery in depositions authorized by this rule is the same as if

            the anticipated suit or potent ial claim had been filed." Tex. R. Civ. P. 202.5.

                     40.     Petitioner seeks Mr. Wallace's deposition for the precise reasons contemplated by

            Rule 202: to understand and evaluate potential claims. Specifically, Petitioner seeks an oral

            deposition of Mr. Wallace to investigate evidence of the scope, extent, and substance of Mr.

            Wallace's work undertaken at the direction of Ms. Nathan and/or TAG, or others, on behalf of Mr.

            Baldoni, Mr. Heath, Mr. Sarowitz, and Wayfarer, including with respect to conduct performed on

            social media platforms including Instagram, Reddit, and TikTok, and across digital platforms.

                     41.     Specifically, Petitioner seeks testimony regarding Mr. Wallace 's awareness of the

            Rider that Petitioner entered into with Wayfarer, including the provision that prohibited any

            disparagement or other negative behavior aimed at Petitioner in retaliation for Petitioner exercising

            her legally protected right to speak up about the misconduct of Mr. Baldoni, Mr. Heath and

            Wayfarer.

                     42.     Petitioner additionally seeks testimony from Mr. Wallace regarding his knowledge

            of the underlying purpose of the work performed in connection with this engagement, particularly

            regarding the conduct by Respondent and any agents to manipulate social media sites, the tabloid



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            media, and other coverage in favor of Mr. Baldoni and against Petitioner, to retaliate against and

            disparage Petitioner, and to undermine and breach Petitioner's contracts with Wayfarer and It Ends

            With Us Movie LLC.

                     43.     Petitioner also seeks information regarding the nature and breadth of Mr. Wallace's

            work to disparage Petitioner, in order to better understand the totality of his efforts and to evaluate

            the damage to Petitioner from his actions.

                     44.     A court must order a requested Rule 202 deposition if it finds that the likely benefit

            of allowing the petitioner to investigate a potential claim by taking the deposition, outweighs the

            burden or expense of the procedure. Tex. R. Civ. P. 202.4(a)(2).

                     45.     Because Petitioner seeks only this limited testimony from Mr. Wallace, the benefit

            of allowing Petitioner to take the requested deposition outweighs any associated burden or expense

            to Mr. Wallace. Specifically, the burden or expense of allowing the requested Rule 202 deposition

            to take place is low, as Petitioner's counsel will work with counsel for Mr. Wallace to schedule

            the depositions at a mutually convenient time and place. In addition, Petitioner will conduct the

            requested Rule 202 deposition within the time limitations of Tex. R. Civ. P. 199.5(c).

                     46.     The likely benefit for Petitioner and the justice system is substantial. First,

            Petitioner's investigation of the potential claims will ensure that any suit filed by Petitioner is

            supported by competent witness testimony and evidence. Tex. Civ. Prac. & Rem. Code § 9.011;

            Tex. R. Civ. P. 13.

                     47.     Here, the limited Rule 202 deposition Petitioner proposes is the most efficient

            method for Petitioner to discover information regarding Respondent's role in the unlawful harm

            suffered by Petitioner. Based on the information already available to Petitioner, Mr. Wallace




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            performed work for or alongside, and was privy to, plans and communications with these

            individuals and entities, many of which are obscured and hidden from Petitioner.

                     48.     The critical evidence relevant to Petitioner s potential claims, the specifics of the

            conduct by Mr. Wallace in connection with his work on behalf of Mr. Baldoni, Mr. Heath, Mr.

            Sarowitz, and Wayfarer, in coordination with Ms. Nathan, TAG, and Ms. Abel, and the identities

            of other potential defendants, is not otherwise available to Petitioner. Without this information,

            Petitioner may be unable to pursue all claims against all liable individuals and companies.

                     49.     Second, the investigation may help to avoid unnecessary litigation. There is a

            heightened risk of inviting frivolous lawsuits in this case, where Mr. Wallace's attorney, Mr.

            Freedman, has repeatedly threatened to file suit against anyone who might bring claims against his

            clients based on the allegations in the Lively Complaint. This is particularly relevant in light of

            the likelihood that Mr. Freedman 's threats to sue are backed by another Retaliation Defendant, Mr.

            Sarowitz, who previously divulged at th e Film's New York premiere on August 5, 2024, that he

            was prepared to spend $100 million to ruin the lives of Ms. Lively and her family. Throughout

            2024, Mr. Sarowitz, the founder and an active director of Paylocity Holding Corp. ("Paylocity"),

            an HR and payroll company, sold a significant amount of Paylocity stock, valued at nearly $100

            million. Therefore, allowing Petitioner to make an informed decision about any future legal action

            through a presuit deposition is likely to achieve the goals of reducing or eliminating frivolous

            litigation and promoting judicial economy that Rule 202 is intended to achieve.

                     50.     For the reasons set forth above, Petitioner avers that the likely benefit of allowing

            Petitioner to take Mr. Wallace's deposition to investigate her potential claims outweighs the

            burden or expense of the procedure and should thus be granted.




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                                              AUTHORITY FOR DEPOSITION

                     51.     Tex. R. Civ. P. 202 enables a person to "petition the court for an order authorizing

            the taking of a deposition ... to investigate a potential claim or suit." Tex. R. Civ. P. 202.l(b). A

            court must order a requested deposition if it finds that the likely benefit of allowing the petitioner

            to take the deposition to investigate a potential claim outweighs the burden or expense of the

            procedure. Tex. R. Civ. P. 202.4(a)(2).

                                                     PRAYER FOR RELIEF

                     52.     Pursuant to Tex. R. Civ. P. 190.4, Petitioner requests that discovery be conducted

            under a Level 3 discovery control plan.

                     53.     Petitioner respectfully requests that the Court issue an order setting a date for

            hearing on this Petition with at least fifteen days' notice, and after that hearing, issue an order:

                             a.       requiring Mr. Wallace to testify by oral deposition related to the matters

            described herein; and

                             b.       for all other relief at law or in equity, to which Petitioner may be shown to

            be justly entitled.

            January 21 , 2025                                Respectfully submitted,

                                                             By: /s/ Laura Lee Prather
                                                             Laura Lee Prather
                                                             State Bar No. 16234200
                                                             laura.prather@haynesboone.com
                                                             HAYNES BOONE, LLP
                                                             98 San Jacinto Blvd., Suite 1500
                                                             Austin, Texas 78701
                                                             Telephone:     (512) 867-8400
                                                             Telecopier: (512) 867-8470

                                                             Michael J. Gottlieb
                                                             mgottlieb@willkie.com
                                                             Kristin E. Bender
                                                             kbender@willkie.com
                                                             WILLKIE FARR & GALLAGHER LLP

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                                                             1875 K Street NW
                                                             Washington, DC 20006
                                                             Telephone: (202) 303-1000

                                                             Esra A. Hudson
                                                             Stephanie A. Roeser
                                                             Catherine Rose Noble
                                                             MANATT, PHELPS, & PHILLIPS, LLP
                                                             2049 Century Park East, Suite 1700
                                                             Los Angeles, California 90067
                                                             (310) 312-4000
                                                             Email: ehudson@manatt.com
                                                             sroeser@manatt.com
                                                             cnoble@manatt.com

                                                             ATTORNEYS FOR PETITIONER
                                                             BLAKE LIVELY




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                                                        CAUSE NO. 2025-

                                                                 §
              IN RE:                                             §       IN THE DISTRICT COURT
              BLAKE LIVELY,                                      §
                                                                 §
                                       Petitioner,               §
                                                                 §       ___ JUDICIAL DISTRICT
              REQUESTING DEPOSITION OF:                          §
              JED WALLACE.                                       §
                                                                 §
                                                                 §       HAYS COUNTY, TEXAS
                                                                 §
                                                                 §

                                                         VERIFICATION

                     1.      My name is Blake Lively. I am over the age of eighteen and my business address

            is c/o Manatt, Phelps & Phillips LLP, 2049 Century Park East, Suite 1700, Los Angeles, CA 90067.

                     2.      I have read the above and foregoing Rule 202 Petition. Based on my personal

            knowledge, the factual information contained therein is true and correct.

                     3.      I declare under penalty of perjury that the foregoing is true and correct.

            Executed on January 21, 2025.

                                                                               ~   DocuSigned by:



                                                                      _________________________________
                                                                                ~ 8
                                                                      Blake Lively




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                EXHIBIT A
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                                                                                                As of November 15, 2023

              Blakel, Inc.                                                     Copy to:
              f/s/o Blake Lively                                               Sloane Offer Weber and Dem LLP
              c/o WME Entertainment                                            10100 Santa Monica Blvd., Suite 750
              9601 Wilshire Blvd., 3rd Floor                                   Los Angeles, CA 90067
              Beverly Hills, CA 90210                                          Attn: David Weber and Lindsey
              Attn: Wanen Zavala                                               Strasber
              e-Mail                                                            e-Mail:




                     REFERENCE IS MADE to that ce11ain actor agreement ("Agreement"), dated as of May 5, 2023
             between IT ENDS WITH US MOVIE, LLC ("Company") and BLAKEL, INC. ("Lender") for the acting
             and related se1vices of Blake Lively ("Artist") in connection with the motion picture cmTently entitled "IT
             ENDS WITH US" ("Picture").
                      WHEREAS, the pai1ies wish to confinn the conditions under which Lender has agreed to cause
             Al1ist to render acting se1vices on the Pictme following the break in production of the Picture related to the
             2023 WGA and SAG-AFTRA labor strikes.
                      NOW THEREFORE, for good and valuable consideration, the receipt of which is hereby
             acknowledged, Company agrees to the following additional tem1s and conditions in connection with
             Altist's services and use of Al1ist's results and proceeds in the Picture which shall be deemed
             incorporated into the Agreement.

                     1.       An intimacy coordinator must be present at all times when Altist is on set.

                     2.       With respect to Al1ist, any and all rehearsal, filming, reviewing of video playback or dailies
                              and/or any other interaction with any scene involving simulated sex, nudity ai1d/or pai1ial
                              nudity shall be restricted to those persons with essential business reasons for being present
                              ("Essential Personnel") as approved by Altist and Todd Black as further described in the
                              nudity rider attached as Schedule I hereto (''Nudity Rider").

                     3.       There is to be no spontaneous improvising of any scenes involving intimate/sexual physical
                              touching, simulated sex, or nudity with respect to Altist. Scenes involving Al1ist that
                              involves kissing, depictions of sexual intercourse, or any other intimate/sexual physical
                              touching must be contained in the screenplay (i.e., the most up to date draft approved by
                              Al1ist in wdting), choreographed in advance in the presence of the intimacy coordinator,
                              and may only proceed as choreographed with the consent of all paiticipants in advaiice.

                     4.       Physical touching and/or comments on Artist's physical appeai·ance must only be
                              done/made in connection with the character and scene work, not as to Altist personally.
                              Except as wdtten into the screenplay or as strictly required in connection with make-up or
                              costmne prepai·ation, there is to be no physical touching (including hugging) of Artist, her
                              on-set persom1el and/or her employees.

                     5.       There ai·e to be no discussions with Altist of personal expedences witl1 sex or nudity,
                              including as it relates to conduct with spouses or others.




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                     6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist’s trailer
                              while she is in a state of undress for any reason.

                     7.       There shall be no rehearsal or filming of Artist (including Artist’s approved body double)
                              of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                              accordance with the Nudity Rider. Any such footage of Artist (or Artist’s body double)
                              previously shot without the Nudity Rider in place may not be used without Artist’s and her
                              legal representatives’ prior, written consent.

                     8.       Artist may have a representative of her choosing present with her on set for the remainder
                              of the rehearsal and shooting days, including while on a closed set.

                     9.       If Artist is exposed to COVID-19, she must be provided notice as soon as possible after
                              Wayfarer or any producer or production executive becomes aware of such exposure.

                     10.      There shall be no retaliation of any kind against Artist for raising concerns about the
                              conduct described in this letter or for these requirements. Any changes in attitude, sarcasm,
                              marginalization or other negative behavior, either on set or otherwise, including during
                              publicity and promotional work, as a result of these requests is retaliatory and unacceptable,
                              and will be met with immediate action.

                     11.      Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                              approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                              the rehearsal and shooting days, including on a closed set, to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues.

                     12.      Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                              (Todd Black is hereby approved) (the “Approved Producer”), to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues provided that
                              Company shall have the right to approve the agreement with the Approved Producer.

                     13.      Wayfarer must empower any existing third party producer with appropriate and customary
                              authority to actively supervise the production, including monitoring the safety of the cast
                              and crew, ensuring compliance with the schedule and overseeing logistics, problem solving
                              and creative issues.

                     14.      Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                              as stunt double), to rehearse and perform any scenes involving the character “Lily” that
                              depicts rape or any act of sexual violence. Artist will only perform close-up work or other
                              pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                              doubles for both characters (i.e., “Lily” and “Ryle”) for all simulated sex scenes (Cole
                              Mason approved as body double for “Ryle”). Wayfarer will use reasonable good faith
                              commercial efforts to engage the same Artist-approved individual as Artist’s body double
                              and stunt double.

                     15.      Any rehearsal or shooting involving Artist, or any other performer depicting the character
                              of “Lily,” that involves nudity (including partial nudity) or simulated sex must be
                              conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                              approved script. For the avoidance of doubt, there will be no use of footage in the Picture




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                              that depicts any underage character or underage actor engaged in sexual intercourse or any
                              fo1m of penetration.

                      16.     Any and all day players that pa1ticipate in any way in scenes with Altist involving nudity,
                              partial nudity and/or simulated sex must be engaged through customaiy industiy talent
                              agencies and not through personal connections of the director and/or producer.

                      17.     At Altist's ele.ction, an all-hands, in-person meeting before production resumes which will
                              include the director, the existing producers, the Sony representative, the Approved
                              Producer, Altist and Artist's designated representatives to confnm and approve a plan for
                              implementation of the above that will be adhered to for the physical and emotional safety
                              of Altist, her employees ai1d all the cast and crew moving fo1ward.

             In the event of any conflict between the tenns and conditions of the Agreement and the tenns and
             conditions of this side letter agreement, the te1ms and conditions of this side letter agreement
             shall control.


             ACKNOWLEDGED, AGREED TO & ACCEPTED


             IT ENDS WITH US MOVIE LLC                                BLAKEL, INC.



             By:                                                       By:
            Name:      Jamey Heath                                     Name:            Blake Lively
             Its:      President                                       Its:             Auth01ized Signato1y




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                                                              Schedule I
                                                             Nudity Rider




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Carey Wallick on behalf of Laura Prather
Bar No. 16234200
carey.wallick@haynesboone.com
Envelope ID: 96446822
Filing Code Description: Petition
Filing Description: Blake Lively's Verified Petition for Rule 202 Deposition
Status as of 1/22/2025 10:40 AM CST

Case Contacts

Name               BarNumber   Email                            TimestampSubmitted     Status

Laura Prather                  laura.prather@haynesboone.com    1/21/2025 4:46:03 PM   SENT

Michael Gottlieb               mgottlieb@willkie.com            1/21/2025 4:46:03 PM   SENT

Kristin Bender                 kbender@willkie.com              1/21/2025 4:46:03 PM   SENT

Esra Hudson                    ehudson@manatt.com               1/21/2025 4:46:03 PM   SENT

Stephanie Roeser               sroeser@manatt.com               1/21/2025 4:46:03 PM   SENT

Catherine Noble                cnoble@manatt.com                1/21/2025 4:46:03 PM   SENT

Hannah Keck                    hannah.keck@haynesboone.com      1/21/2025 4:46:03 PM   SENT

Reid Pillifant                 Reid.Pillifant@haynesboone.com   1/21/2025 4:46:03 PM   SENT

Carey Wallick                  carey.wallick@haynesboone.com    1/21/2025 4:46:03 PM   SENT

Lori Mitchell                  Lori.Mitchell@haynesboone.com    1/21/2025 4:46:03 PM   SENT
